  Case 1:16-cv-00690-CL          Document 108           Filed 11/19/18   Page 1 of 5




Kelly L. Andersen, OSB #791464
Andersen Morse & LInthorst
1730 East McAndrews, Suite A
Medford, Oregon 97504
Telephone:(541)773-7000
Facsimile:(541)608-0535
kelly@andersenlaw.com

      Attorney for Plaintiff


                  IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF OREGON

                                 MEDFORD DIVISION

JOHN ERIC SMITH,                                         Case No. 16-CV-00690-CL

                    Plaintiff,                           PLAINTIFF'S COST BILL

      V.



UNITED STATES OF AMERICA,

                    Defendant.


STATE OF OREGON              )
                             ) ss:
County of Jackson            )

      I, Kelly L. Andersen, certify that the following is a true statement of costs

incurred and/or believed to be allowed in this case.

      1.     Filing Fee                                                      $    400.00

      2.     Service of Summons                                              $    154.22

      3.     Cost of Obtaining Medical Records

             a)     Asante                                                   $     209.75


     Page    1 - PLAINTIFF'S COST BILL

                               Andersen Morse & Linthorst, P.C.
                                1730 E. McAndrews Rd.,Suite A
                                      Medford, OR 97504
                          Telephone(541)773-7000 Fax(541)608-0535
                               Home Page:^vww.andersenlaw.com
                                E-Mail: kelly@andersenlaw.com
Case 1:16-cv-00690-CL     Document 108            Filed 11/19/18   Page 2 of 5




          b)     lOD                                                   $     142.65

          c)     Kroger Pharmacy                                       $         60.00

          d)     Medford Foot & Ankle                                  $     148.00

         e)      Mercy Flights                                         $         20.00

         f)      Oregon Advanced Imaging                               $         15.00

         g)      Rehabilitation Medicine Physicians                    $         30.00

          h)     Rogue Valley Urology                                  $         35.00

          i)    SONSA                                                  $         25.00

         j)      Valley Immediate Care                                 $         25.00

          k)     Walgreen Pharmacy                                     $         31.48

   The bills are attached as Exhibit A.

   4.     Deposition transcripts (bills attached as Exhibit B)

         a)      LNS Court Reporting
                Trans. John Eric Smith                                 $     315.00

                 Depo/Trans. Of Manson, Webster, Schorran
                 And Tiffany Smith                                     $    1,264.20

          b)     Kostner & Associates
                Trans. Of Rubenson                                     $     511.50

         c)      Debra Dugan
                 Depo of Pray, M.D.                                    $     306.39

         d)     Catherine Vernon & Assoc.
                Videotaped Depo of Choppa                              $    1,068.00

   5.    Trial Subpoenas and Service Fees (bills attached as Exhibit C)

         a)     Sure Serve Process Servers                             $     115.00


  Page   2 - PLAINTIFFS COST BILL

                         Andersen Morse & Linthorst, P.C.
                          1730 E. McAndrews Rd., Suite A
                               Medford,OR 97504
                    Telephone(541)773-7000 Fax (541)608-0535
                         Home Page: www.andersenlaw.com
                          E-Mail: kelly@andersenlaw.com
   Case 1:16-cv-00690-CL         Document 108            Filed 11/19/18      Page 3 of 5




                 b)    Rogue Legal                                                $        90.00

         6.      Witnesses Fees and Mileage^ (Exhibit D)
Name                   Attendance Subsistence                      Mileage        Total Cost
                       & Travel                                & Travel           for each
                       Time                                    Expenses           Witness
                       Days Cost         Days Cost
Tiffany Smith          1    $40                                         $5        $45
Gary Overton           1    $40                                         $5        $45
Jeff Thompson          1    $40                                         $5        $45
Scott McBride          1    $40                                         $5        $45
Brandon Bowman         1    $40                                         $5        $45
Laural Wann            1    $40                                         $5        $45
Diana Ortiz            1    $40                                         $5        $45
Mike Sahlberg          1    $40                                         $5        $45
Rich Brasher           1    $40                                         $5        $45
Maria McGaughlin^      3    $120        3         $127.50               $1,447.71 $1,695.21
David Talan            2    $80         2         $76.50                $1,352.59 $1,509.09
Roseann Velez          2    $80         2         $76.50                $823.61   $980.11
Michele Cook           2    $80         2         $76.50                $648.94   $805.44
Daniel Rubenson        1    $40          1                                        $40
Robert Arnsdorf        1    $40                   $38.35       336      $183.12   $261.37
Jeffery Zimmer         1    $40                                         $5        $45




 ^ Witness fee of $40.00 per day of testimony and necessary travel time, plus
 mileage or actual travel expenses. 28 (JSC § 1821(b)-(c). Subsistence
 allowance is allowed for witnesses who live too far to be expected to travel to
 and from their residence daily while in attendance at trial. 28 USC § 1821(d).
 That rate is posted online, and for Medford is $93/per day for hotel and $51 per
 day for meals and incidentals, or $38.25 for the first and last days of travel. See
 https://www.asa.aov/travel/plan-book/per-diem-rates/Der~diem-rates-
 lookup/?action=perdiems report&state=OR&fiscal vear=2018&zip=&citv=Medf
 ord.


^ I have included one day travel each direction before and after her testimony
 because of the lack of reasonable flights between Medford and Florida.
        Page     3- PLAINTIFF'S COST BILL

                                Andersen Morse & Linthorst, P.C.
                                 1730 E. McAndrews Rd., Suite A
                                       Medford,OR 97504
                           Telephone(541)773-7000 Fax (541)608-0535
                                Home Page: www.andersenlaw.com
                                 E-Mail: kelly@andersenlaw.com
  Case 1:16-cv-00690-CL         Document 108            Filed 11/19/18            Page 4 of 5




        7.   Trial Exhibits^

Number of Pages Black & White"                   Color                          Total Charges
102                                              $0.55/page                     $56.10
2,502                $.06/page                                                  $150.12


             TOTAL                                                                       $10,913.63

        DATED this   /y day of November, 2018.
                                                 Andersen Morse & Linthorst, PC




                                                    Kelly L. Anderson, OSB #791464
                                                    Attorney for Plaintiff


        SUBSCRIBED AND SWORN TO BEFORE ME this li"^av of November
2018.



                                                 Notary Public for the State of Oregon
                                                 My Commission Expires: _Jo-j^2s23-


                                                                           OFFICIAL STAMP
                                                                          CORINNET DRAKE
                                                                      NOTARY PUBLIC-OREGON
                                                                      COMMISSION NO 980516
                                                                  MY COMMISSION EXPIRES OCTOBER 23.2022




^ This is the total page count and charges for all three copies of the trial
binders: one each for Plaintiff, Defendant, and the Judge. The binders were
each 868 pages, of which 34 were color copies.
^ These are the current charges at Staples.com as of November 19, 2018.
      Page   4- PLAINTIFFS COST BILL

                               Andersen Morse & Linthorst, P.C.
                                1730 E. McAndrews Rd.,Suite A
                                      Medford,OR 97504
                       Telephone(541)773-7000 Fax (541)608-0535
                            Home Page: www.andersenlaw.com
                             E-Mail: kelly@andersenlaw.com
        Case 1:16-cv-00690-CL      Document 108     Filed 11/19/18   Page 5 of 5




Re:   John Eric Smith v. United State of America
      US District Court Case No. 16-CV-00690-CL




                               CERTIFICATE OF SERVICE

       I certify that on the        day of November, 2018 I served the foregoing

PLAINTIFF'S COST BILL on the attorneys and parties listed below by depositing in the

United States Mail a true copy thereof, enclosed in a sealed envelope with postage paid

and addressed to the regular office and of that said attorney:


      Susanne Luse                        AND VIA E-MAIL: susanne.luse@usdoj.gov
      Assistant U.S. Attorney
      1000 SW Third Ave., Ste. 600
      Portland, OR 97204-2902

             Of Attorneys for defendant




                                          KELLY L. ANDERSEN,
                                          A PROFESSIONAL CORPORATK




                                                1730 E. McAndrev       ., Ste. A
                                                Medford, OR 975j
                                                (541) 773-7000
                                                E-Mail: kelly@andersenlaw.com
